      Case 2:19-cv-02222-KHV-GEB Document 34 Filed 01/06/20 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS
                                  AT KANSAS CITY

TITAN FOWLES f/k/a DON ROBERT
CURTIS,

         Plaintiff,                                     Case No.: 2:19-cv-02222-KHV-GEB

v

ATCHISON AUTOMOTIVE PLAZA,
INC. d/b/a LEWIS CHEVROLET
BUICK,

         Defendant.


                              JOINT NOTICE OF MEDIATION

       Plaintiff Titan Fowles and Defendant Atchison Automotive Plaza, Inc., by their

respective undersigned counsel, pursuant to the Court’s September 18, 2019, Scheduling Order

(ECF #21), respectfully and jointly provide notice that the parties have agreed to participate in

mediation on Wednesday, January 22, 2020, starting at 9:30 a.m. The parties have selected

Judge Kevin Moriarty, at Moriarty Mediation, 7007 College Blvd., Suite 430, Overland Park, KS

66211, to serve as mediator. Judge Moriarty’s telephone number is (913) 283-7003.
Case 2:19-cv-02222-KHV-GEB Document 34 Filed 01/06/20 Page 2 of 3




                             Respectfully submitted,

                             Bell Law, LLC



                             s/ Mark W. Schmitz
                             Bryce B. Bell KS#20866
                             Mark W. Schmitz KS#27538
                             2600 Grand Blvd., Ste. 580
                             Kansas City, MO 64108
                             T: 816-886-8206
                             F: 816-817-8500
                             Bryce@BellLawKC.com
                             MS@BellLawKC.com
                             Attorneys for Plaintiff



                             Case Linden P.C.


                             s/Patric S. Linden
                             Kevin D. Case, KS 14570
                             Patric S. Linden, KS 18305
                             Nicholas C. Vrana, KS 26530
                             2600 Grand Boulevard, Suite 300
                             Kansas City, MO 64108
                             Tel: (816) 979-1500
                             Fax: (816) 979-1501
                             kevin.case@caselinden.com
                             patric.linden@caselinden.com
                             nicholas.vrana@caselinden.com
                             Attorneys for Defendant




                                2
      Case 2:19-cv-02222-KHV-GEB Document 34 Filed 01/06/20 Page 3 of 3




                                    Certificate of Service

        I hereby certify that on January 6, 2020, a true and correct copy of the above and
foregoing was served by electronic filing with the Clerk of the Court in the CM/ECF system,
which will automatically send email notification of such filing to the following counsel of
record:

Mark W. Schmitz
Bryce B. Bell
Bell Law, LLC
2600 Grand Blvd., Ste. 580
Kansas City, MO 64108
Attorneys for Plaintiff



                                                   s/Patric S. Linden
                                                   Patric S. Linden




                                               3
